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                        IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                           ANDERSON/GREENWOOD DIVISION

UNITED STATES OF AMERICA                 )    CRIMINAL NO.: 8:18-cr-484-DCC
                                         )
              v.                         )
                                         )
ANTHONY DANTE HOLLOWAY                   )

                        PRELIMINARY ORDER OF FORFEITURE

       This matter is before the court on the motion of the United States for a Preliminary

Order of Forfeiture as to Defendant Anthony Dante Holloway, (“Holloway”, “Defendant”),

based upon the following:

       1.    On August 14, 2018, a Superseing Indictment (“Indictment”) was filed

charging Holloway with:

             Count 1:       Possession of a firearm and ammunition after having been
                            convicted of a felony, in violation of 18 U.S.C. §§ 922(g)(1),
                            924(a)(2) and 924(e);

             Count 2:       Drug trafficking, in violation of 21 U.S.C. § § 841(a)(1) and
                            (b)(1)(C);

             Count 3:       Possession of a firearm in furtherance of a drug trafficking
                            crime, in violation of 18 U.S.C. § 924(c)(1)(A).

       2.    Pursuant to Fed. R. Crim. P. 32.2(a), the Superseding Indictment contained

a forfeiture allegation providing that upon Holloway’s conviction, certain properties

enumerated therein, or equivalent substitute assets, would be subject to forfeiture to the

United States. As specified therein, such assets include, but are not limited to the

following:




                                             -1-
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                Money Judgment:1

                A sum of money equal to all proceeds the defendants obtained,
                directly or indirectly, from the Title 21 offense(s) charged in this
                Superseding Indictment, and all interest and proceeds traceable
                thereto, in that such sum equals property, the defendant obtained as
                the result of the violation(s).

                Firearm:

                      Jimenez Arms JA Nine pistol
                      CAL: 9mm S/N: 281399
                      Asset ID: 18-FBI-006894

                Ammunition:

                      9 rounds of miscellaneous ammunition
                      CAL: 9mm
                      Asset ID: 18-FBI-006894


       3.       On October 22, 2018, Holloway signed a plea agreement, agreeing to

forfeiture, and entered into a plea of guilty as to Counts 1, 2 and 3 of the Superseding

Indictment.

       4.       Based upon Defendant’s conviction, the court has determined that the

property described above is subject to forfeiture, pursuant to 18 U.S.C. §924(d)(1), 21

U.S.C. § § 853(a) and 881, and 28 U.S.C. § 2461(c).

       5.       The court has determined that the government has established the requisite

nexus between the said property subject to forfeiture and the offenses for which Holloway

has been convicted; therefore, the United States is entitled to a preliminary order of

forfeiture, subject to the provisions of 21 U.S.C. § 853 governing third party rights.


       1
           The government is not pursuing a money judgment against the defendant.


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       Accordingly, it is hereby ORDERED,

     1.       The below-described property, and all right, title, and interest of the

Defendant, Anthony Dante Holloway, in and to such property, is hereby forfeited to the

United States of America, for disposition in accordance with law, subject to the rights of

third parties in such property under 21 U.S.C. § 853(n):

              Firearm:

                     Jimenez Arms JA Nine pistol
                     CAL: 9mm S/N: 281399
                     Asset ID: 18-FBI-006894

              Ammunition:

                     9 rounds of miscellaneous ammunition
                     CAL: 9mm
                     Asset ID: 18-BI-006894


       2.     Upon entry of this Order, the United States Attorney is authorized to conduct

proper discovery in identifying, locating, or disposing of the described property, or other

substitute assets, in accordance with Fed. R. Crim. P. 32.2(b)(3); and to commence

proceedings that comply with statutes governing third party rights, if applicable.

       3.     The United States shall publish notice of this Order and its intent to dispose

of the personal property in such manner as the Attorney General may direct. The United

States may also, to the extent practicable, provide written notice to any person known to

have an alleged interest in the said property.

       4.     Upon entry of this Order, the United States is authorized to seize the above-

described property as directed by the United States Attorney’s Office and to commence

proceedings that comply with statutes governing third party rights.


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       5.      Any person, other than the named Defendant, asserting a legal interest in

the subject property may, within thirty days of the final publication of notice or receipt of

notice, whichever is earlier, petition the court for a hearing without a jury to adjudicate the

validity of his alleged interest in the subject property and for an amendment of the order

of forfeiture, pursuant to 21 U.S.C. § 853(n)(6) and Fed. R. Crim. P. 32.2(c).

       6.      Any petition filed by a third party asserting an interest in the above-

described property shall be signed by the petitioner under penalty of perjury and shall set

forth the nature and extent of the petitioner’s right, title, or interest in the subject property,

the time and circumstances of the petitioner’s acquisition of the right, title or interest in

such property, and additional facts supporting the petitioner’s claim and the relief sought.

       7.      After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A)

and before a hearing on the petition, discovery may be conducted in accordance with the

Federal Rules of Civil Procedure upon a showing that such discovery is necessary or

desirable to resolve factual issues.

       8.      The United States shall have clear title to the property following the court’s

determination of all third party interests, or, if no petitions are filed, following the expiration

of the period provided in 21 U.S.C. § 853(n)(2) for the filing of third party petitions.

       9.      The court shall retain jurisdiction to resolve disutes which may arise and to

enforce and amend this Order as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

       10.     Upon entry of the criminal judgment, this Order becomes final as to

Defendant, and shall be made a part of the sentence and included in the criminal

judgment.

       11.     The Clerk, United States District Court, shall provide one (1) certified copy

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of this Order to the United States Attorney’s Office.




AND IT IS SO ORDERED.

                                          s/ Donald C. Coggins Jr.
                                          DONALD C. COGGINS, JR.
                                          UNITED STATES DISTRICT JUDGE


February 13, 2019
Spartanburg, South Carolina




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